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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  EDELINE JULMISSE PROSPER, as Personal )
  Representative of the ESTATE OF JUNIOR   )
  PROSPER, deceased,                       )
                                           )
         Plaintiff,                        )
                                           )
         v.                                )                  Case No. 17-CV-20323
                                           )
  ANTHONY MARTIN, Miami-Dade Police        )
  Department Badge No. 7819, individually, )
                                           )
         Defendants.                       )                  JURY DEMANDED


                         COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW COMES the plaintiff, Edeline Julmisse Prosper, as Personal Representative of the

  ESTATE OF Junior Prosper, by and through her undersigned attorneys, complains of Defendant,

  ANTHONY MARTIN, Miami-Dade Police Department Badge No. 7819, individually,

  (“Defendant Officer”) and in support thereof states as follows:

                                         INTRODUCTION

     1. This is a civil action, arising out of the death of Junior Prosper (“Decedent”) caused by

         the Defendant Officer, is brought pursuant to 42 U.S.C. Section 1983 to redress the

         deprivation under color of law of Decedent’s rights as secured by the United States

         Constitution.

     2. This court has jurisdiction of the action pursuant to the Civil Rights Act, 42 U.S.C., §

         1983, the judicial code 28 U.S.C. § 1331 and 28 U.S.C. § 1367, and venue is proper

         under 28 U.S.C. §1392(b). On information and belief, all parties reside in this judicial




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       district, and the events giving rise to the claims asserted herein occurred within the

       district.

                                PLAINTIFF’S ALLEGATIONS

    3. Plaintiff is the Personal Representative of the Estate of Decedent, Junior Prosper, who

       died from gunshot wounds inflicted by the Defendant Officer on September 28, 2015.

    4. Until the time of his death, Decedent, Junior Prosper, was a resident of North Miami,

       Miami-Dade County, Florida.

    5. Defendant Anthony Martin, Badge No. 7819, was, at the time of this occurrence, a duly

       licensed Miami-Dade County Police Officer. Defendant Officer engaged in the conduct

       complained of in the course and scope of his employment and under color of law.

       Defendant Officer is sued in his individual capacity.

    6. On or about September 28, 2015, Defendant Officer shot and killed Junior Prosper

       adjacent to Interstate 95 near NW 119th Street in Miami, Florida.

    7. Defendant Officer used inappropriate, unwarranted, and unjustified force against

       Decedent, who was unarmed. Specifically, the Defendant Officer shot decedent without

       lawful cause or justification.

    8. As a result of the Defendant Officer’s unlawful use of force, the gunshot wounds led to

       Prosper’s death.

    9. A nearby surveillance camera captured certain events that led to and included the

       shooting of Decedent by Plaintiff.

    10. Upon information and belief, neither the Miami-Dade Police Department nor any other

       law enforcement agency provided the Miami-Dade County State Attorney’s Office with a

       copy of the video for their investigation.       In fact, either the Miami-Dade Police



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       Department or the Florida Department of Law Enforcement directed the private business

       in possession of the video not to distribute it.

    11. Plaintiff seeks recovery for the following losses caused by Defendant Officer’s unlawful

       force: (i) the loss of prospective net accumulations of the Decedent beyond death reduced

       to present value and (ii) medical and funeral expenses due to the Decedent’s injury or

       death that have become a charge against his Estate or that were paid by or on behalf of

       decedent. The Estate of Junior Prosper, by and through Ediline Julmisse, Personal

       Representative, is entitled to and does seek to recover hedonic damages suffered by the

       decedent, in other words, the value as determined by the trier of fact, of Junior Prosper’s

       past and future loss of enjoyment of his life.

    12. The Decedent’s children and wife are entitled to recover damages suffered for the

       deprivation without due process of their constitutionally protected liberty interest in their

       relationship with Junior Prosper, as guaranteed by the 14th Amendment, and state law, as

       incorporated into 42 U.S.C. § 1983.

                                   COUNT I – 42 U.S.C. §1983

                             Fourth Amendment – Excessive Force

    13. Each of the foregoing Paragraphs 1 through 12 are hereby incorporated as if restated fully

       herein.

    14. As described in the preceding paragraphs, the conduct of the Defendant Officer, acting

       under the color of law, constituted excessive force in violation of the Fourth Amendment

       to the United States Constitution, and 42 U.S.C., Section 1983.

    15. The misconduct described in this count was objectively unreasonable and was undertaken

       intentionally with willful indifference to Decedent’s constitutional rights.



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      16. The misconduct described in this count was undertaken with malice, willfulness, and

          reckless indifference to the rights of others.

      17. As the proximate result the Defendant Officer’s unjustified and excessive use of force,

          Decedent suffered severe and permanent physical pain, loss of life, medical and funeral

          expenses, and Plaintiff suffered injury and emotional distress, including loss of society

          and companionship.

      WHEREFORE, Plaintiff respectfully requests judgment against the Defendants for

      compensatory damages and, because the Defendant Officer acted maliciously, wantonly, and

      oppressively, Plaintiff seeks punitive damages against Defendant Officer in his individual

      capacity, plus the costs of this action and attorney’s fees, and such other and additional relief

      as this court deems equitable and just.



                                  DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b)

  on all issues triable.



  Date: January 25, 2017                         Respectfully submitted,

                                                 /s/ Court E. Keeley_______
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